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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF COLUMBIA

BERKLEY INSURANCE CO., et al.,

                    Plaintiffs,       Case No. 1:13-cv-1053-RCL

             v.

THE FEDERAL HOUSING FINANCE
AGENCY, et al.,

                    Defendants.

IN RE FANNIE MAE/FREDDIE MAC
SENIOR PREFERRED STOCK
PURCHASE AGREEMENT CLASS              Case No. 1:13-mc-1288-RCL
ACTION LITIGATIONS
_______________________________

This document relates to:
ALL CASES



  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION FOR A CURATIVE
INSTRUCTION REGARDING PLAINTIFFS’ STATEMENT TO THE JURY THAT A
          DOCUMENT “WAS NEVER PRODUCED IN THIS CASE”
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                                         INTRODUCTION
         Mr. Satriano either misunderstood the question or made a mistake during cross-

examination when he testified that he had “prepared and presented” a written “presentation” that

analyzed “what would happen in the event of a net worth sweep.” Tr. 35:1-12. 1 The presentation

Mr. Satriano turned out to be referring to was a PowerPoint presentation prepared several months

after the Net Worth Sweep, as he later acknowledged during re-cross examination. Tr. 113:10-

17. But Mr. Satriano’s mistaken testimony nonetheless prompted a reasonable series of questions

about the whereabouts of the pre-Net Worth Sweep presentation he initially claimed to have

prepared, as no such document was produced during discovery. Ultimately, after Mr. Satriano

acknowledged his mistake during re-cross examination, the jury clearly understood that there had

not been any discovery violation. Defendants thus suffered no prejudice from Plaintiffs’ counsel’s

questions about why the non-existent pre-Net Worth Sweep presentation was never produced.

         Defendants’ request for a curative instruction (the “Motion”) should be denied because

there is no error that needs curing.

                                           ARGUMENT
                                Mr. Satriano’s Cross-Examination
         On cross-examination, Plaintiffs’ counsel asked Mr. Satriano to confirm that he had never

done any written analysis relating to the Third Amendment. Tr. 16:5-22. Plaintiffs’ counsel then

turned to whether Mr. Satriano had done any written analysis of the potential effects of re-

recording Fannie Mae and Freddie Mac’s deferred tax assets “in the event of a net worth sweep”:

                     Q. When I was asking you a moment ago whether there was any
                 analysis done by FHFA about the DTA write-ups, nobody at FHFA
                 wrote any sort of analysis of what might happen if these DTAs that
                 they're sitting on, this $100 billion of assets were written back up,
                 nobody at FHFA wrote any sort of a memo analyzing the effect of

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    All emphasis is added.

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               what would happen in the event of a net worth sweep. Is that your
               testimony?
                   A. What we did at FHFA --
                   Q. I asked you if there was a memo. Is that a yes-or-no question?
                   A. There's a presentation that I prepared and presented to
               many people within the agency.

Tr. 35:1-12. Although Defendants seem unwilling to acknowledge this fact, Mr. Satriano was

wrong. Plaintiffs’ counsel was not asking Mr. Satriano about analyses he may have done after the

Net Worth Sweep. Plaintiffs’ counsel’s question was clearly directed to whether “FHFA wrote

any sort of analysis of what might happen” if the DTAs were reversed “in the event of a net worth

sweep,” i.e., before August 17, 2012. Mr. Satriano’s affirmative answer to Plaintiffs’ counsel’s

question is what caused the confusion of which Defendants now complain. Defendants’ Motion

ignores the above passage, as their selective quotation starts six lines later. See Motion at 2

(quoting Tr. 35:21-36:16). Only by ignoring the above passage can Defendants argue that “the

document is precisely as Mr. Satriano described it – a PowerPoint presentation from early 2013

concerning a possible DTA write-up by Fannie Mae.”

       Mr. Satriano’s testimony quoted above reasonably prompted Plaintiffs’ counsel to inquire

where the purported pre-Net Worth Sweep PowerPoint presentation was.                   Tr. 36:13-19.

Defendants objected, and the Court properly overruled the objection. 2            After a sidebar

conversation, Plaintiff’s counsel resumed his questioning, and Mr. Satriano again testified that he

had prepared a PowerPoint presentation “analyzing what would happen in the event of … a net

worth sweep,” which had been “turned over” in “discovery”:

                   Q. Okay. When is the last time you saw this PowerPoint?
                   A. In the last year.
                   Q. Where?
                   A. On my computer.

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  Defendants incorrectly told the Court when seeking a curative instruction that the Court had
“sustained the objection.” Tr. 113:24-114:7.

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                   Q. And did you give a copy of it to your lawyers to turn over in
               this case?
                   A. You would have to ask my lawyers.
                   Q. I am asking you.
                   A. I believe this was turned over, yes, as part of the discovery in
               the multiple cases.
                   Q. Okay.
                   So let's talk about it. So you're saying that there's a PowerPoint
               analyzing what would happen in the event of a DTA write-up in
               the event of a net worth sweep?
                   A. Yes, I believe that's what we tried to highlight for
               stakeholders at the FHFA.

Tr. 37:10-38:1.

       This testimony again makes clear that Mr. Satriano mistakenly believed he had “turned

over” a PowerPoint “analyzing what would happen in the event of a DTA write-up in the event of

a net worth sweep.” 3 And again, to state the obvious, the question did not seek information about

PowerPoint presentations created after the Net Worth Sweep. Plaintiffs’ counsel’s questions

seeking to identify this alleged PowerPoint were clearly reasonable. In their Motion, Defendants

again misleadingly truncate the above passage just before the last question and answer, which

make clear that Mr. Satriano was either mistaken or confused. See Motion at 4-5 (quoting Tr.

37:10-21).

                            Mr. Satriano’s Re-Direct Examination

       On re-direct examination, Defendants’ counsel showed Mr. Satriano a PowerPoint

presentation from March 2013. Tr. 103:6-24. Defendants then asked Mr. Satriano whether this



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  Defendants appear to be correct that Mr. Satriano did not say he “turned [] over” the PowerPoint
“a year ago.” Motion at 4-5. But the date the presentation was supposedly “turned over” is not
the relevant point. Rather, Mr. Satriano twice told the jury he had created a PowerPoint “analyzing
the effect of what would happen in the event of a net worth sweep,” Tr. 35:1-12; 37:10-38:1, which
purportedly was “turned over” to his counsel. As discussed, this testimony left the clear, but
inaccurate, impression that he had turned over to counsel a PowerPoint that was created before the
Net Worth Sweep.

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presentation was an “example[] of the types of presentation that you testified about in response to

Mr. Rudy’s question,” and Mr. Satriano replied, “Yes these were what I had in mind.” Tr. 106:22-

107:1.

                              Mr. Satriano’s Re-Cross Examination

         Plaintiffs’ counsel asked the Court for permission to conduct a brief re-cross examination.

Plaintiffs’ counsel explained that Defendants’ counsel’s vague questions during re-direct

examination left unclear whether Mr. Satriano actually did, or did not, do any written analysis of

a potential DTA writeup prior to the Net Worth Sweep. Plaintiffs’ counsel was granted permission

to ask these questions, and Mr. Satriano gave direct answers to simple questions that made clear

that Mr. Satriano – not Plaintiffs’ counsel – had been confused during the cross-examination:

                    Q. [T]he questions that I was asking you before, though, were
                did you do any sort of written analysis before the net worth sweep.
                Right?
                    A. That's right.
                    Q. These PowerPoints were after the net worth sweep?
                    A. That's correct.
                    Q. Thank you.
                    A. Yeah, you're welcome.

Tr. 113:10-17. Notably, Mr. Satriano did not contest that he understood that Plaintiffs’ counsel’s

earlier questions had been directed to whether Mr. Satriano did “any sort of written analysis before

the net worth sweep.” Defendants’ argument that this re-cross examination somehow “worsened

the prejudice,” Motion at 3, ignores that Mr. Satriano admitted during this testimony that his earlier

answers had been mistaken. Id.

                                          CONCLUSION

         Defendants’ Motion ignores the actual record, and seeks to blame Plaintiffs’ counsel for

Mr. Satriano’s admitted error. There is no reason to revisit this issue now with a curative

instruction days after the events in question. Mr. Satriano’s testimony on re-cross examination

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made clear that Defendants’ counsel had not violated any discovery protocols or failed to turn over

documents, and that the entire incident was a misunderstanding caused by Mr. Satriano’s mistaken

answers during cross-examination. Plaintiffs’ counsel “just cleaned it up for him with [his]

recross,” Tr. 115:1-2, and no more need be said.

       Defendant’s Motion should be denied.


 Dated: August 6, 2023                              Respectfully submitted,

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